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BOIES SCHILLER FLEXNER LLP
David Boies (pro hac vice)
333 Main Street
Armonk, NY 10504
(914) 749-8200
dboies@bsfllp.com

Maxwell V. Pritt (SBN 253155)
Joshua M. Stein (SBN 298856)
44 Montgomery Street, 41st Floor
San Francisco, CA 94104
(415) 293-6800
mpritt@bsfllp.com
jstein@bsfllp.com

Jesse Panuccio (pro hac vice)
1401 New York Ave, NW
Washington, DC 20005
(202) 237-2727
jpanuccio@bsfllp.com

Joshua I. Schiller (SBN 330653)
David L. Simons (pro hac vice)
55 Hudson Yards, 20th Floor
New York, NY 10001
(914) 749-8200
jischiller@bsfllp.com
dsimons@bsfllp.com

Counsel for Individual and Representative Plaintiffs
and the Proposed Class. (additional counsel included below)


                            UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF CALIFORNIA
                                SAN FRANCISCO VISION

RICHARD KADREY, et al.,                             Case No. 3:23-cv-03417-VC

        Individual and Representative Plaintiffs,
                                                    PLAINTIFFS’ ADMINISTRATIVE
   v.                                               MOTION TO CONSIDER WHETHER
                                                    ANOTHER PARTY’S MATERIAL
META PLATFORMS, INC.,                               SHOULD BE SEALED RE: PRIVILEGE
                                                    BRIEF
                                     Defendant.



                                PLAINTIFFS’ ADMIN. MTN. TO CONSIDER SEALING RE: PRIVILEGE BRIEF
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       Pursuant to Civil Local Rules 7-11, 79-5(f), and this Court’s Standing Order on Motions

to Seal, Plaintiffs respectfully submit this Administrative Motion to Consider Whether Another

Party’s Material Should Be Sealed, filed in connection with Plaintiffs’ Privilege Letter Briefing

(the “Privilege Brief”). The Privilege Brief contains, in various places, summaries or descriptions

of material that Defendant Meta Platforms, Inc. (“Meta”), has designated as “Confidential” or

“Highly Confidential - Attorneys Eyes Only,” as defined in the in the parties’ Stipulated Protective

Order for Litigation Involving Patents, Highly Sensitive Confidential Information and/or Trade

Secrets (ECF No. 90, the “Protective Order”). Plaintiffs are also filing all exhibits in support of

the Privilege Brief under seal because they are either designated, or refer to material that is

designated, as “Confidential” or “Attorneys’ Eyes Only.”

       Accordingly, Plaintiffs have filed a public version of the Privilege Motion to the docket

via ECF, redacting references to such extracted information or summaries. Plaintiffs have also

filed under seal an unredacted, highlighted version. Plaintiffs have also filed “slipsheet” versions

of the exhibits in support of the Privilege Motion via ECF and will separately submit those to the

Court and Meta.




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                                    Dated: November 8, 2024


                                    By: /s/ Maxwell V. Pritt
                                           Maxwell V. Pritt

                                    BOIES SCHILLER FLEXNER LLP
                                    David Boies (pro hac vice)
                                    333 Main Street
                                    Armonk, NY 10504
                                    (914) 749-8200
                                    dboies@bsfllp.com

                                    Maxwell V. Pritt (SBN 253155)
                                    Joshua M. Stein (SBN 298856)
                                    44 Montgomery Street, 41st Floor
                                    San Francisco, CA 94104
                                    (415) 293-6800
                                    mpritt@bsfllp.com
                                    jstein@bsfllp.com

                                    Jesse Panuccio (pro hac vice)
                                    1401 New York Ave, NW
                                    Washington, DC 20005
                                    (202) 237-2727
                                    jpanuccio@bsfllp.com

                                    Joshua I. Schiller (SBN 330653)
                                    David L. Simons (pro hac vice)
                                    55 Hudson Yards, 20th Floor
                                    New York, NY 10001
                                    (914) 749-8200
                                    jischiller@bsfllp.com
                                    dsimons@bsfllp.com

                                    Interim Lead Counsel for Individual and
                                    Representative Plaintiffs and the Proposed Class.

                                    LIEFF CABRASER HEIMANN &
                                    BERNSTEIN, LLP
                                    Elizabeth J. Cabraser (State Bar No. 083151)
                                    Daniel M. Hutchinson (State Bar No. 239458)
                                    Reilly T. Stoler (State Bar No. 310761)
                                    275 Battery Street, 29th Floor
                                    San Francisco, CA 94111-3339
                                    (415) 956-1000
                                    ecabraser@lchb.com
                                    dhutchinson@lchb.com
                                    rstoler@lchb.com

                                    Rachel Geman (pro hac vice)
                                    250 Hudson Street, 8th Floor

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                                    New York, New York 10013-1413
                                    (212) 355-9500
                                    rgeman@lchb.com

                                    JOSEPH SAVERI LAW FIRM LLP
                                    Joseph R. Saveri (SBN 130064)
                                    Cadio Zirpoli (SBN 179108)
                                    Christopher K.L. Young (SBN 318371)
                                    Holden Benon (SBN 325847)
                                    Aaron Cera (SBN 351163)
                                    Margaux Poueymirou (SBN 356000)
                                    601 California Street, Suite 1505
                                    San Francisco, California 94108
                                    (415) 500-6800
                                    jsaveri@saverilawfirm.com
                                    czirpoli@saverilawfirm.com
                                    cyoung@saverilawfirm.com
                                    hbenon@saverilawfirm.com
                                    acera@saverilawfirm.com
                                    mpoueymirou@saverilawfirm.com

                                    CAFFERTY CLOBES MERIWETHER &
                                    SPRENGEL LLP
                                    Bryan L. Clobes (pro hac vice)
                                    135 S. LaSalle Street, Suite 3210
                                    Chicago, IL 60603
                                    (312) 782-4880
                                    bclobes@caffertyclobes.com

                                    DICELLO LEVITT LLP
                                    Amy Keller (pro hac vice)
                                    Nada Djordjevic (pro hac vice)
                                    James Ulwick (pro hac vice)
                                    10 North Dearborn Street, Sixth Floor
                                    Chicago, Illinois 60602
                                    (312) 214-7900
                                    akeller@dicellolevitt.com
                                    ndjordjevic@dicellolevitt.com
                                    julwick@dicellolevitt.com
                                    David Straite (pro hac vice)
                                    485 Lexington Avenue, Suite 1001
                                    New York, New York 10017
                                    (646) 933-1000
                                    dsraite@dicellolevitt.com

                                    Matthew Butterick (SBN 250953)
                                    1920 Hillhurst Avenue, #406

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                                    Los Angeles, CA 90027
                                    (323) 968-2632
                                    mb@buttericklaw.com

                                    COWAN DEBAETS ABRAMS & SHEPPARD
                                    LLP
                                    Scott J. Sholder (pro hac vice)
                                    CeCe M. Cole
                                    60 Broad Street, 30th Floor
                                    New York, NY 10004
                                    (212) 974-7474
                                    ssholder@cdas.com
                                    ccole@cdas.com

                                    Counsel for Individual and Representative
                                    Plaintiffs and the Proposed Class.




           PLAINTIFFS’ ADMIN. MTN. TO CONSIDER SEALING RE: PRIVILEGE BRIEF
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